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AO 450 (SCD 04/2010) Judgment in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                 for the
                                                        District of South Carolina


                        Clinton Burns
                                                                       )
                            Plaintiff
                                                                       )
                      v.                                                      Civil Action No.      4:14-cv-3517-MGL
                                                                       )
   A Mansukhani, Warden FCI Estill, Estill, South
                                                                       )
                   Carolina
                           Defendant
                                                                       )

                                                  JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                   recover from the defendant (name)              the amount of                dollars ($   ),
which includes prejudgment interest at the rate of            %, plus postjudgment interest at the rate of           %, along with
costs.
’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
recover costs from the plaintiff (name)                            .
O other: This case is dismissed without prejudice.


This action was (check one):
’ tried by a jury, the Honorable                            presiding, and the jury has rendered a verdict.

’ tried by the Honorable                          presiding, without a jury and the above decision was reached.

O decided by the Honorable Mary G. Lewis, United States District Judge. The court adopts the Report and
Recommendation of the Honorable Thomas E. Rogers, III, United States Magistrate Judge.


Date: November 18, 2014                                                      CLERK OF COURT


                                                                             s/Debbie Stokes
                                                                                         Signature of Clerk or Deputy Clerk
